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_ FOR THE NORTHERN DISTRICT OF TEXAS} NOY 08 02 |
FORT WORTH DIVISION OO
CLERIC U.S. DISTRICT COU
UNITED STATES OF AMERICA BY ogee
v. No. 4:22-CR-275-P

LATOYAL LANELL BRYANT (02)
FACTUAL RESUME

INFORMATION:
Count One: Conspiracy to Possess with Intent to Distribute a Controlled Substance
(methamphetamine) (in violation of 21 U.S.C. § 846, and 21 U.S.C. 8§ 841(a)(1) and

(b)C1MC))

PENALTY: $1,000,000 fine - not more than 20 years imprisonment, or both such fine
and imprisonment, plus a term of supervised release of not less than 3
years.

MAXIMUM PENALTY:
$1,000,000 fine and not more than twenty (20) years imprisonment, plus a
term of supervised release of not less than 3 years. If the defendant violates
any condition of supervised release, the Court may revoke such term of
supervised release and require the defendant to serve an additional period of
confinement. Further the Court must impose a Mandatory Special
Assessment of $100.00.

 

ELEMENTS OF THE OFFENSE:
The essential elements which must be proved beyond a reasonable doubt in order to
establish the offenses charged in Count One of the Information are as follows:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or possess with intent to distribute a controlled substance, as
charged in the information;

Second: That the defendant knew of the unlawful purpose of the agreement;

Third: That the defendant joined in the agreement willfully, that is, with the intent
to further its unlawful purpose;

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Fourth: That the overall scope of the conspiracy involved a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

STIPULATED FACTS:

In and around August 2022, Latoyal Lanell Bryant allowed ethers>sueb-as-Myron Lynn
Matthews, Jr., to conduct methamphetamine-transactions at her residence, xxx S.
Jennings, Apt. 2201, Fort Worth, Texas. In exchange, Latoyal Lanell Bryant received
personal-use amounts of marijuana. Sometimes, Bryant would not be aware of the actual
amounts of methamphetamine being bought and sold at her residence by Myron Lynn
Matthews, Jr. And on August 24, 2022, HSI Agents/Officers executed a search warrant
at Bryant’s residence. Prior to its execution, Bryant removed methamphetamine and guns
from her apartment and hid them at her mother’s apartment. Later, Bryant admitted to
moving and hiding the methamphetamine and drugs, and they were recovered by law
enforcement. In this manner, Latoyal Lanell Bryant and Myron Lynn Matthews, Jr.
conspired with each other and others to possess methamphetamine with intent to
distribute it.

SIGNED this * day of of Ow Cente , 2022.

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LALOYAP LANELL BRYANT BENSON VARGHESE
Defendant Counsel for Defendant

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